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                     Exhibit 1
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Platt, Monica

From:                  Platt, Monica
Sent:                  Friday, May 27, 2022 5:22 PM
To:                    Jason Rabinovich
Cc:                    Oleg Sokolov; Correll, Francis
Subject:               RE: Velez Enterprises v. KVK, et al - discovery
Attachments:           2022-05-27 Defs responses to first set of rogs(10020870.1).pdf; 2022-05-27 defendants responses to
                       Plaintiffs RFPs(10020868.1).pdf


Jason,

Please see attached.

Monica

From: Platt, Monica
Sent: Thursday, May 26, 2022 2:03 PM
To: Jason Rabinovich <jason@rslawgroup.com>
Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll, Francis <FCorrell@klehr.com>
Subject: RE: Velez Enterprises v. KVK, et al ‐ discovery

Jason,

I will have responses to you tomorrow. We are in the process of reviewing documents. Please note that we intend to file
a motion requesting that the Court enter the confidentiality order.

Monica

From: Jason Rabinovich <jason@rslawgroup.com>
Sent: Wednesday, May 25, 2022 11:08 AM
To: Platt, Monica <MPlatt@klehr.com>
Cc: Oleg Sokolov <oleg@rslawgroup.com>; Correll, Francis <FCorrell@klehr.com>
Subject: Re: Velez Enterprises v. KVK, et al ‐ discovery

Monica,

Please confirm you will produce discovery responses no later than Friday May 27, 2022. If not, we will be forced to file a
motion to compel.

We are prepared to produce our discovery responses but have held off based on your prior request to do so (without a
confidentiality order).


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Jason Rabinovich, Esq.
Managing Partner




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